Case 2:19-cr-00003-LGW-BWC Document 26 Filed 02/25/19 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA, : INDICTMENT NO.: CR219-0003
VS. :
VINCENT SANDERS,

Defendant.

DEFENDANT'S MOTION FOR AMENDMENT OF HIS
CONDITIONS FOR PRETRIAL RELEASE

COMES NOW, VINCENT SANDERS, Defendant in the above-styled matter, by
and through counsel, and respectfully moves this Honorable Court for an order
amending the conditions of his pretrial release, and in support thereof, shows this
Honorable Court as follows:

1,

On February 12, 2019, the Defendant appeared before this Honorable Court for
arraignment and consideration of pretrial release and the Court issued an "Order
Setting Conditions of Release" that required the Defendant to be subject to a curfew
from 10:00 p.m., to 6:00 a.m., every day.

2,

The Defendant is employed at a "Dollar Tree Store" located at 5110 Summer
Avenue, Memphis, Tennessee and works the 10:00 p.m., to 6:00 a.m., shift between
three to five days per week. (See Exhibit "A" attached hereto and by reference

incorporated herein).

 
Case 2:19-cr-00003-LGW-BWC Document 26 Filed 02/25/19 Page 2 of 6

3.

The “curfew” conditions of the Defendant's Pretrial Release are interfering with
the Defendant's ability to work at gainful employment and he respectfully requests this
Honorable Court to amend his "curfew" conditions so that they do not so interfere.

WHEREFORE, the Defendant, Vincent Sanders, respectfully requests this
Honorable Court to enter an order amending the "curfew" conditions of his pretrial
release.

This et day of February, 2019.

ALAN DAVID TUCKER, ESQ., P.C.

  
 

 
 

Alan David Tucker, Ege’
Attorney for Defendant
Georgia Bar No. 717559

9 St. Andrews Court, Suite 201
Brunswick, GA 31520
912-267-7123
912-267-0782-Fax

 
Case 2:19-cr-00003-LGW-BWC Document 26 Filed 02/25/19 Page 3 of 6

EXHIBIT “A”

 
Case 2:19-cr-00003-LGW-BWC Document 26 Filed 02/25/19 Page 4 of 6

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Uancent. Sanders. WOKS.

 

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Alan Tucker <alan@alantuckeratty.com>

 

 

Vincent Sanders
1 message

 

Tania Wesson <TARIVERA@dollartree.com> Mon, Feb 18, 20179 at 4:08 PM
To: “alan@alantuckeratty.com" <alan@alantuckeratty.com>

Mr. Tucker,

| am the District Manager of the Dollar Tree location that Mr. Sanders works
at on Summer Ave. His works schedule will normally be 10p to Gam anywhere from
three to five days a week. Unfortunately, we at this level do not have letterhead
paperwork for him to turn into you. If you do have questions or need more information,
please feel free to call his store manager Rachel Evans at 901-766-2943, or myself at
731-727-5400.

Thank you,

Tania Wesson
Temp DM 220
731-727-5400

https://mail.google.com/mail/u/O7ik=803¢1d94fS5& view=nt&search=alli&nermthid=thread-.. 2/18/2019

 
Case 2:19-cr-00003-LGW-BWC Document 26 Filed 02/25/19 Page 6 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA, > INDICTMENT NO.: CR219-0003
VS.
VINCENT SANDERS,
Defendant.

CERTIFICATE OF SERVICE

This is to certify that I have this day served all parties in this case in accordance
with the directives from the Court Notice of Electronic Filing ("NEF") which was

generated as a result of electronic filing.

This 25th day of February, 2019

ALAN DAVID TUCKER, ESQ. P.C.

 
 
   

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Sp er

an David Tucker, Bg
Attorney for Defendant wen

Georgia Bar No. 717559

  
 

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